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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                        §
                                              §
2999TC ACQUISITIONS, LLC,                     §          CASE NO. 21-31954-hdh
                                              §
        Debtor.                               §          Chapter 11

                              NOTICE OF EXPEDITED HEARING

        PLEASE TAKE NOTICE that an expedited hearing on 2999TC Acquisitions, LLC’s
Emergency Motion to Extend Time and Motion to Compel [Docket Nos. 128 and 129] has been
scheduled for June 6, 2022, at 1:30 p.m. and will be held via Webex Video Conference before
the Honorable Scott W. Everett, United States Bankruptcy Court, 1100 Commerce Street,
14th Floor, Dallas, Texas 75242. Parties may appear in person or via WebEx Video Conference.
The WebEx conference link may be accessed here: https://us-courts.webex.com/meet/hale. To
participate telephonically, parties must dial 1-650-479-3207 and enter Meeting ID 476 420 189.
A copy of the WebEx Hearing Instructions is attached hereto as Exhibit “A.”

        Dated: June 1, 2022.

                                                  Respectfully submitted,

                                                  /s/ Joyce W. Lindauer
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 1, 2022, a true and correct copy of the
foregoing document was served via email via the Court’s ECF system upon the parties receiving
electronic notice in this case listed below.

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                                                  /s/ Joyce W. Lindauer
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                                                           EXHIBIT "A"
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